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                                                                         5                                 IN THE UNITED STATES DISTRICT COURT
                                                                         6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    UNITED STATES OF AMERICA,                              No. CR 05-334 SBA
                                                                         9                   Plaintiff ,                             ORDER
                                                                         10     v.
                                                                         11
United States District Court




                                                                              STEVEN SHELTON, et al.,
                               For the Northern District of California




                                                                         12                  Defendants.
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                                                                         14          This matter comes before the Court on Defendant's Motion to Continue Trial and Defendant's

                                                                         15   request to substitute counsel. The pretrial conference in this matter is set for October 3, 2006, and

                                                                         16   trial is set to begin October 4, 2006. Accordingly, IT IS HEREBY ORDERED THAT Defendant's
                                                                         17   Motion to Continue Trial and request to substitute counsel shall be heard on September 22, 2006 at
                                                                         18   3:00 p.m.
                                                                         19          IT IS FURTHER ORDERED THAT if Defendant Shelton's attorney, Doron Weinberg, is
                                                                         20   unable to appear, then his associate, Nina Wilder, shall appear in his place. Defendant Shelton shall
                                                                         21   personally appear.
                                                                         22          IT IS SO ORDERED.
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                                                                              Dated: 9/20/06
                                                                         24                                                        SAUNDRA BROWN ARMSTRONG
                                                                                                                                   United States District Judge
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